EXHIBIT A
JMY25. BA PM Gmail . National Do Not Call Registry « Your Registration ix Continned

EE TEE Jay connor

Nationai Do Not Cail Registry - Your Registration Is Confirmed
1 message

Verify@donctcalt.gov <Verify@donotcall,gov> Mon, Feb 10, 2025 at 1:54 PM
To ERIE @ gmail.com

Thank you for registering your phone number with the National Do Not Call Registry. You meee salsa a
lagi Most telemarketers wil! be required to StOp Calling you ays
from your registration date,

Visil hitps:vawy.donotcaligov to register another number or file a complaint against someone violating the Registry.

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Please do not reply to this Message as it is from an unattended mailbox. Any replias to this email will not be responded to
or forwarded. This service Is used for outgoing emails only and cannol respond to inquiries.

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